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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

                                                      CASE NO.:

 RODLIN EDOUARD,

                  Plaintiff,

 vs.

 WYNWOOD DINER LLC,
 a Limited Liability Company, and
 MARIO ALONSO, an Individual,

             Defendants.
 ________________________________________/

                                                    COMPLAINT

         COMES NOW Plaintiff, RODLIN EDOUARD, by and through her undersigned counsel, and sues the

 Defendants, WYNWOOD DINER LLC (hereinafter, referred to as “NEW RIVER”), and MARIO ALONSO,

 individually, (hereinafter, collectively referred to as “Defendants”) and allege as follows:

         1.       That Plaintiff, a former employee of the Defendants, brings this action to recover

 compensation and other relief under the Fair Labor Standards Act, as amended (the "FLSA"), 29 U.S.C. §

 201 et seq.. The gravamen of this case is that the Plaintiff was retaliated against for pursuing his rights under

 the FLSA in violation of Federal law.

         2.       That jurisdiction is conferred on this Court by 29 U.S.C. § 215(a)(3) (“anti-retaliation

 provision”), 28 U.S.C §§ 1331 and 1367, and 42 U.S.C. §2000e-5(f)(3).

         3.       That the unlawful employment practices alleged below occurred and/or were committed within

 this judicial district.

         4.       That at all times material hereto, Plaintiff was and is presently a resident of this judicial district,

 sui juris and otherwise within the jurisdiction of this Court.



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        5.       That at all times material hereto, Defendants were the employers of the Plaintiff, were

 conducting business in this judicial district, and whether ‘employers’ or not under the FLSA, are still subject

 to the anti-retaliation provision of the FLSA. “The FLSA's prohibition on retaliation is broader than its

 coverage of minimum wage or overtime wage violations, and applies even if the employee cannot show

 ‘individual coverage’ or ‘enterprise coverage.’” Obregon v. Jep Family Enterprises, Inc., 710 F. Supp. 2d

 1311, 1314 (S.D. Fla. 2010); see Wirtz v. Ross Packaging Co., 367 F.2d 549, 550–51 (5th Cir.1966) (the

 “unambiguous language of the statute refutes the district court's view that either the employee or his

 employer must be engaged in activities covered by the [FLSA's] wage and hour provisions in order for the

 strictures against discriminatory discharge to be invoked.”).

        6.       That at all times material hereto, Defendant, MARIO ALONSO individually, acted directly in

 the interests of his employer, the Defendant, NEW RIVER, in relation to the Plaintiff, and this individual

 Defendant exercised the requisite legal control and otherwise administered the illegal acts as described herein

 on behalf of the Defendant, NEW RIVER.

        7.       Plaintiff began working for the Defendants on February 22, 2017, as a Sous Chef.

        8.       During Plaintiff’s employment, outside of a brief period of time where Plaintiff was handling

 the executive sous chef duties from April to July of 2017, Plaintiff was at all times a non-exempt hourly

 employee.

        9.       After switching back to a non-exempt employee, Plaintiff was not being paid overtime for all

 hours worked.

        10.      Specifically, he would come in at 11 am and not leave until after closing.

        11.      These hours were increased because WD was having the hourly employees schedules cut and

 the salaried employees over-worked to keep costs down.

        12.      On November 5, 2017, Plaintiff had been working the whole day without a break, and



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 eventually took one.

        13.      During that break time, inventory was completed without discussing with Plaintiff, and he was

 confronted with this the next shift.

        14.      Plaintiff complained that he was not at fault for missing inventory as he had been being

 overworked without overtime being paid.

        15.      In turn, he was told that he was terminated because the restaurant went days without supplies

 since he had not ordered items.

        16.      However, Plaintiff reviewed the inventory list and the items stated to be missing were in fact

 there. We have a witness who has confirmed as much.

        17.      To make matters worse, his last check bounced.

        18.      While this retaliation did not result in a direct termination of employment, Plaintiff suffered a

 loss in wages that was a direct result from his complaints of the Defendants’ failure to pay overtime

 compensation.

        19.      There is no question that the Defendants retaliated against the Plaintiff for his complaints.

                                             COUNT I
                                   FLSA RETALIATION-NEW RIVER

        Plaintiff incorporates by reference the allegations contained in paragraphs 1 through 20 of this

 Complaint.

        21.      The Defendant, NEW RIVER’s barring of the Plaintiff from working overtime was directly,

 and undisputedly, in retaliation for his complaints of FLSA violations.

        22.      The Defendant, NEW RIVER denied the Plaintiff overtime hours for him lawfully having

 engaged in statutorily protected activity.

        23.      The Defendant, NEW RIVER’s conduct constitutes unlawful retaliation under the FLSA, and

 such actions were willful and malicious and, as a direct and proximate result of the Defendant’s unlawful and


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 retaliatory conduct, the Plaintiff has suffered damages.

        WHEREFORE, Plaintiff, RODLIN EDOUARD, demands judgment against the Defendant, NEW

 RIVER, for all damages and relief under the FLSA, including attorneys’ fees, costs and expenses, in addition

 to all other relief this Court deems just and proper.

                                           COUNT II
                                FLSA RETALIATION-MARIO ALONSO

        Plaintiff incorporates by reference the allegations contained in paragraphs 1 through 20 of this

 Complaint.

        24.     The Defendant, MARIO ALONSO’s barring of the Plaintiff from working overtime was

 directly, and undisputedly, in retaliation for his complaints of FLSA violations.

        25.     The Defendant, MARIO ALONSO denied the Plaintiff overtime hours for him lawfully having

 engaged in statutorily protected activity.

        26.     The Defendant, MARIO ALONSO’s conduct constitutes unlawful retaliation under the FLSA,

 and such actions were willful and malicious and, as a direct and proximate result of the Defendant’s unlawful

 and retaliatory conduct, the Plaintiff has suffered damages.

        WHEREFORE, Plaintiff, RODLIN EDOUARD, demands judgment against the Defendant, MARIO

 ALONSO, for all damages and relief under the FLSA, including attorneys’ fees, costs and expenses, in

 addition to all other relief this Court deems just and proper.

                                       DEMAND FOR JURY TRIAL

        Plaintiff, RODLIN EDOUARD, demands trial by jury.




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      Dated: May 14, 2018.                 Respectfully submitted,

                                           Law Offices of Levy & Levy, P.A.
                                           1000 Sawgrass Corporate Parkway, Suite 588
                                           Sunrise, Florida 33323
                                           Telephone: (954) 763-5722
                                           Facsimile: (954) 763-5723
                                           Counsel for Plaintiff

                                           /s/ Chad Levy
                                           CHAD E. LEVY, ESQ.
                                           chad@levylevylaw.com
                                           Secondary: assistant@levylevylaw.com
                                           F.B.N.: 0851701
                                           DAVID M. COZAD, ESQ.
                                           david@levylevylaw.com
                                           F.B.N.: 333920




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